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1    NICOLA T. HANNA
     United States Attorney
2    PATRICK R. FITZGERALD
     Assistant United States Attorney
3    Chief, National Security Division
     LISA E. FELDMAN (Cal. Bar No. 130019)
4    Cyber & Intellectual Property Crimes Section
          1500 United States Courthouse
5         312 North Spring Street
          Los Angeles, California 90012
6         Telephone: (213) 894-0633
          Facsimile: (213) 894-0141
7         E-mail:    lisa.feldman@usdoj.gov

8    Attorneys for Plaintiff
     UNITED STATES OF AMERICA
9
                             UNITED STATES DISTRICT COURT
10
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
11
     UNITED STATES OF AMERICA,                No. SACR 18-0085-JLS
12
               Plaintiff,                     GOVERNMENT’S SENTENCING POSITION;
13                                            EXHIBITS
                     v.
14                                            Hearing Date: May 30 2019
     ROGELIO VASQUEZ,                         Hearing Time: 2:00 p.m.
15                                            Location:     Courtroom of the
               Defendant.                                   Hon. Josephine L.
16                                                          Staton

17

18        Plaintiff United States of America, by and through its counsel
19   of record, the United States Attorney for the Central District of
20   California and Assistant United States Attorney Lisa E. Feldman,
21   hereby files its sentencing position in the above-entitled case.
22   //
23   //
24   //
25   //
26   //
27   //
28   //
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1         This sentencing position is based upon the attached memorandum

2    of points and authorities, the attached Exhibits, the files and

3    records in this case, and such further evidence and argument as the

4    Court may permit.

5    Dated: May 22, 2019                  Respectfully submitted,

6                                         NICOLA T. HANNA
                                          United States Attorney
7
                                          PATRICK R. FITZGERALD
8                                         Assistant United States Attorney
                                          Chief, National Security Division
9
10                                              /s/
                                          LISA E. FELDMAN
11                                        Assistant United States Attorney

12                                        Attorneys for Plaintiff
                                          UNITED STATES OF AMERICA
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1                       MEMORANDUM OF POINTS AND AUTHORITIES
2    I.   INTRODUCTION
3         On January 17, 2019, defendant Rogelio Vasquez (“defendant”)

4    pleaded guilty to four counts of a 30-count Indictment, charging him

5    with violations of Wire Fraud, in violation of 18 U.S.C.

6    § 1343, Trafficking in Counterfeit Goods, in violation of 18 U.S.C.

7    § 2320(a)(1), and Trafficking in Counterfeit Military Goods, in

8    violation of 18 U.S.C. § 2320(a)(3). 1       The charges arise from an

9    undercover investigation initiated by the U.S. Department of Defense-
10   Office of Inspector General (“DOD-OIG”), the National Reconnaissance
11   Office (“NRO”), and Homeland Security Investigations (“HSI”) into
12   defendant’s importation and trafficking of counterfeit integrated
13   circuits suspected of entering the U.S. military supply chain. 2               The

14   investigation revealed that defendant, in fact, imported counterfeit

15   integrated circuits from suppliers in China and re-sold them to

16   customers in the United States, many of which were ultimately

17   purchased by defense contractors for use in the U.S. military.

18        The government is in agreement with the criminal history and
19   offense level calculations of the Presentence Investigation Report

20   (“PSR”) as well as its factual findings.         The U.S. Probation Office

21

22        1 At his change of plea hearing, defendant admitted his true
     name as “Rogelio Vasquez Aguilera.” (See Docket No. 27.) The
23   Presentence Report, page 3, lists this name as one of defendant’s
     aliases.
24
          2 An integrated circuit (“IC”) is an electronic circuit
25   consisting of components and connectors contained on a semiconductor
     chip. IC’s are used in a variety of applications, including consumer
26   electronics, transportation, medical equipment, military equipment,
     aircraft equipment, and spacecraft. ICs are generally marked with
27   the name or trademark of the original equipment manufacturer (“OEM”)
     as well as a unique part number, a date code (year and week
28   manufactured), a production lot code, and a code reflecting the
     country of assembly/origin. (PSR § 14.)
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1    (“USPO”) has recommended a sentence of 46 months recommendation.

2    Taking into account the aggravating factors in this case, as well as

3    defendant’s attempted assistance to the government described in the

4    supplemental sentencing position being concurrently filed under seal,

5    the government recommends a one-level downward variance and a

6    sentence as follows: (a) 45 months’ imprisonment; (b) 3 years’

7    supervised release; (c) a special assessment of $400; and (d)

8    restitution in the total amount of $144,000.00.           Defendant has agreed

9    to forfeit all monies, property and assets of any kind derived or
10   acquired as a result of his scheme, and thus, the government further
11   requests that the Court incorporate the preliminary order of
12   forfeiture into the judgment so it may be final.
13   II.   STATEMENT OF FACTS
14         For at least seven years, from approximately July 2009 through
15   May 31, 2006 (when the search warrant was executed), defendant was a
16   reseller who sold counterfeit IC’s he imported from suppliers in
17   China, and resold them to customers in the United States. (Plea
18   Agmt., ¶ 16; PSR, ¶ 16.) Defendant operated his company, PRB Logics,
19   out of his home in Orange County, California and received shipments

20   at a mail drop in Costa Mesa, California.         (Id.)

21         In order to deceive customers and end users, defendant knew that

22   the ICs he sold were old, used and/or discarded and that his Chinese

23   suppliers had pulled the ICs off of discarded circuit boards in

24   China, sanded off all of the markings, and then repainted them in a

25   process commonly referred to as “blacktopping.”           (Plea Agmt., ¶ 16;

26   PSR, ¶ 17.) Defendant further knew that after they were blacktopped,

27   the ICs were remarked with trademarked marks and then further

28   remarked with an altered date code, lot code and/or country of origin

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1    code, to appear as if they were new and original equipment

2    manufacturer (OEM) parts. (Id.)       Defendant then resold the repainted

3    and remarked ICs in an effort to deceive customers and end users into

4    thinking that the parts were new parts.         (Id.; PSR, ¶ 18.)

5         During the investigation, agents learned that in August 2012,

6    defendant purchased counterfeit ICs from China and sold them to a

7    defense subcontractor located in the United States, which, in turn,

8    supplied the parts to a defense contractor.         The counterfeit parts

9    ended up in a classified weapon system used by the U.S. Air Force.
10   (Plea Agmt., ¶ 16; PSR, ¶ 20.)
11        On May 14, 2014, in an email to one of his suppliers in China,
12   defendant indicated that parts requested were for military use by
13   stating in part, “The other problem is this parts are going to the
14   government.   This is why we need to be careful.”         (PSR, ¶ 21.)
15        Between November 2015 and May 2016, five separate times,
16   defendant, using the alias “James Harrison,” sold a total of 82
17   counterfeit Xilinx ICs and 24 counterfeit Analog Devices ICs to a
18   federal undercover agent (“UCA”) posing as an electronics reseller.
19   (Plea Agmt., ¶ 16; PSR, ¶¶ 22-27.)          All of the part numbers were

20   historically used in military applications.         (Id.)    Defendant made

21   many incriminating statements during the recorded undercover calls.

22        During negotiations for the fourth undercover purchase in March

23   2016, defendant told the UCA that his Chinese supplier would do a

24   perfect job of remarking the parts.         The UCA replied that he believed

25   his customer would be reselling the ICs to the U.S. military. (Plea

26   Agmt., ¶ 16; PSR,     § 23.)   In another call, after the UCA said he

27   needed the ICs to pass for the real thing, defendant told him not to

28   worry and that his (Chinese supplier) would send photos.            (Id.)

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1         During negotiations for the fifth undercover purchase, during a

2    call on April 5, 2016, defendant told the UCA that his suppliers

3    pulled ICs from circuit boards in China and they were later remarked,

4    but he did not tell customers that the parts are refurbished because

5    he knew they would not buy them “because practically no one wants

6    refurbished parts.”     (Plea Agmt., ¶ 16; PSR, ¶ 24.)

7         In a call on April 21, 2016, the UCA told defendant that the UCA

8    had won the bid to supply the ICs to a top 10 defense contractor.

9    The UCA then told defendant that the defense contractor would be
10   using the ICs in the B-1 Bomber. The UCA then explained that the
11   defense contractor needed eight parts every two months for six
12   months, but the defense contractor needed a specific date code of
13   “1446” (which the UCA knew from Xilinx was a fake date code for that
14   part).   (Plea Agmt., ¶ 16; PSR, ¶ 25.)       Despite being told that the
15   ICs would be used by the U.S. military in the B-1 Lancer Bomber
16   military aircraft, defendant told the UCA he would instruct his
17   Chinese supplier to mark the ICs with the date code, “1446.” The next
18   day, that’s exactly what he did and defendant later sold those
19   remarked ICs to the UCA. (Plea Agmt., ¶ 16; PSR, ¶¶ 26-27.) 3

20        In May 2016, defendant also sold 8,000 counterfeit Intel ICs to

21   Company A for $80,000 ($10/per IC), and Company A resold 7,783 of

22   them to its customer, Company B, in Orange County, California.             (Plea

23   Agmt., ¶ 16; PSR, ¶¶ 28-29.)       Company B, a defense contractor and

24   subcontractor that does business with the U.S. military as well as

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          3 Had the counterfeit ICs been used in the B-1 Lancer Bomber
27   military aircraft, they would likely have caused impairment of combat
     operations or other significant harm to a combat operation because a
28   failure of the counterfeit ICs would impact the B-1’s operational
     capabilities. (Plea Agmt., ¶ 16.)
                                        4
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1    other defense contractors, purchased the Intel part, S80C196KB12, to

2    use in products for numerous customers, including products sold to

3    the U.S. Army, Navy, and Marine Corps, which were used in various

4    military applications.     (Plea Agmt., ¶ 16; PSR, ¶ 29.)

5         Emails later seized from defendant’s computer showed that

6    despite the fact that the purchase order from Company A specified new

7    parts, defendant obtained the 8,000 ICs from Chinese suppliers which

8    he knew had been pulled from discarded circuit boards, blacktopped

9    and then remarked with the Intel mark, part number, dates codes and
10   lot codes.   (Plea Agmt., ¶ 16; PSR, ¶¶ 26-27.)         Defendant also
11   instructed his Chinese suppliers on how to remark the ICs. (Id.)
12        Equally disturbing, defendant instructed a test laboratory in

13   China to prepare two separate versions of a test report on a batch of

14   the 8,000 counterfeit ICs:      one for defendant with all of the test

15   results, and a second, sanitized version for defendant’s customer

16   (Company A) omitting the results of the visual inspection and
17   permanency/marking tests 4 -- which would have revealed that the ICs

18   were used, remarked, and/or in poor condition. If it only got the
19   sanitized report, Company A (and thus, Company B) would not discover

20   that the ICs were, in fact, used and remarked.          (Plea Agmt., ¶ 16;

21   PSR, ¶¶ 18, 30.)

22        Defendant also worked with his Chinese suppliers to use shipping

23   methods to avoid seizures by CBP.       On April 18, 2016, after one of

24

25        4 The visual inspection refers to looking at the exterior of the
     IC for evidence of wear or damage, such as scratches, bent leads,
26   oxidation, non-uniform coating, etc. Permanency tests include an
     acetone test, in which acetone is applied to the surface of the IC
27   (usually with a cotton swab). If some of the black color comes off,
     that indicates that the IC is blacktopped, i.e. repainted with black
28   paint and then remarked. These tests will generally indicate if a
     part is used or remarked.
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1    his Chinese suppliers confirmed it was shipping the ICs directly to

2    defendant’s customer (Company A) to avoid seizure, defendant

3    instructed the supplier not to use the supplier’s name on the

4    shipment because defendant did not want the customer to contact the

5    supplier because defendant told his customer that the parts were new.

6    (Plea Agmt., ¶ 16; PSR, ¶ 31.)       On May 10, 2016, per his

7    instructions, defendant received both versions of the test report and

8    forwarded the sanitized version to Company A (which it forwarded to

9    to its customer, Company B).       (Plea Agmt., ¶ 16; PSR, ¶ 32.) 5
10        On May 26, 2016, federal agents executed a search warrant at the
11   office of PRB Logics, which was also defendant’s residence, in
12   Orange, California.     At the time of the search, agents seized 1,307
13   counterfeit Xilinx ICs in his inventory, some of which were marked
14   with part numbers historically used in military applications.             (Plea
15   Agmt., ¶ 16; PSR, ¶ 34.) During the search, agents also seized
16   $97,362 in cash, hidden throughout his residence, which included
17   proceeds from his $80,000 sale of counterfeit Intel IC’s to Company
18   A.   (Plea Agmt., ¶ 16; PSR, ¶ 35.)
19   III. THE PSR AND USPO RECOMMENDATION
20        On April 2, 2019, the USPO disclosed its PSR to the parties.

21   Consistent with the parties’ plea agreement, the PSR concluded that

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23
          5 In order for the Court to better understand the significance
24   of the two versions of the report – as well as to see photographs of
     some of the counterfeit Intel ICs that defendant sold to Company A –
25   the original and sanitized versions are attached hereto as Exhibits 1
     and 2, respectively. Exhibit 1 is the complete, 19-page report,
26   containing all of the tests done and indicating failures in red. Page
     11 of 19, at the bottom, shows a photo of a cotton swab “dirty after
27   Retopping Test” after ink came off the IC during the acetone test.
     Exhibit 2 is the “sanitized” 9-page report and as the report
28   reflects, the failed tests relating to the visual inspection and re-
     topping (acetone) test have been removed.
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1    defendant’s base offense level is 8 under USSG § 2B5.3(a).            (PSR

2    ¶ 46.)       The PSR also concluded that defendant’s offense level should

3    be increased as follows: 1) 14 levels under USSG § 2B5.3(b)(1)(H),

4    for a total infringement amount more than $550,000 and up to $1.5

5    million, specifically, $894,218; 2) two levels under USSG

6    § 2B5.3(b)(3)(A), for an offense involving the manufacture or

7    importation of infringing items (i.e., the counterfeit ICs); and 3)

8    two levels under USSG § 2B5.3(b)(7) for an offense involving a

9    counterfeit military good, the use, malfunction, or failure of which
10   is likely to cause impairment of combat operations or cause other
11   significant harm to a combat operation – namely, that defendant knew
12   the parts were to be used in the B-1 Bomber aircraft and had they
13   been so used, they would likely have caused impairment of combat
14   operations because a failure of the counterfeit ICs would impact the
15   B-1’s operational capabilities. (PSR ¶ 49; Plea Agmt., ¶ 16.)             This
16   results in an offense level of 26.        (PSR ¶ 53.)    With acceptance of
17   responsibility, defendant’s offense level is 23.          (PSR ¶ 57.)
18          The PSR also concluded that defendant has zero criminal history
19   points, resulting in a Criminal History Category of I.           (PSR ¶¶ 62-

20   63.)       With an offense level of 23, and Criminal History Category I,

21   the PSR concluded that defendant’s Guideline Range is 46 to 57

22   months.       (PSR ¶ 100.)   The USPO recommended a sentence of 46 months

23   imprisonment, three years of supervised release, and a special

24   assessment of $400. (USPO Rec. Ltr. at 1-2.) 6

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            6
            The Probation Officer recommended that all fines be waived on
28   the basis that defendant does not have the ability to pay a fine in
     addition to restitution.
                                        7
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1    IV.   DEFENDANT’S SENTENCING POSITION
2          On April 24, 2019, defendant filed his sentencing position.

3    Defendant concurs with the sentencing guidelines analysis and

4    criminal history calculation contained in the PSR.           (Defendant does

5    not dispute any of the factual findings set forth in the PSR.)

6    Defendant, however, is requesting a sentence of “no more than 36

7    months imprisonment” based on his personal history and post-

8    indictment attempted assistance to the government.           On April 26,

9    2019, defendant filed a supplement to his sentencing position,
10   attaching numerous letters of support from family and friends, and a
11   certificate, in support of his sentencing position.
12   V.    THE GOVERNMENT’S RECOMMENDATION AND ANALYSIS OF THE FACTORS
           PURSUANT TO 18 U.S.C. § 3553(a)
13
           The government respectfully requests that the Court adopt the
14
     factual findings, Guidelines calculations, and criminal history
15
     calculation of the PSR in this matter.         For the reasons set forth
16
     below and in the supplemental sentencing position, the government
17
     also requests that the Court impose the following sentence, based on
18
     the relevant factors that this Court can consider for sentencing,
19
     including 18 U.S.C. § 3553(a): (a) a mid-range sentence of 45-months
20
     imprisonment; (b) 3 years supervised release; (c) a special
21
     assessment of $400; and (d) restitution in the amount of $144,000 to
22
     be paid to Intel Corporation.       The government also requests the Court
23
     to incorporate the preliminary order of forfeiture into the judgment.
24
           The sentence recommended by the government is reasonable within
25
     the meaning of Title 18, United States Code, Section 3553(a) and
26
     sufficient but not greater than necessary to meet the sentencing
27
     goals of 18 U.S.C. § 3553(a).       As set forth in more detail below, the
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1    government’s recommended sentence reflects the extremely serious

2    nature of the offense and related aggravating facts that exist in

3    this case, while also taking into account defendant’s post-indictment

4    attempted assistance to the government.         While the aggravating

5    factors in this case could easily warrant a high-end sentence, on

6    balance, the government believes that a mid-range sentence is most

7    appropriate taking into account all of the factors.

8          A.    Nature and Circumstances of the Offense
9          With respect to the nature and circumstances of the offense,
10   defendant’s offense is an extremely serious one with potentially
11   dangerous consequences to health and safety.          For at least seven
12   years, defendant knowingly imported and sold counterfeit integrated
13   circuits many of which were purchased by defense contractors for use
14   in military applications.       For example, in 2012, some of those
15   counterfeit ICs ended up in a classified Air Force program.
16   Defendant was well aware that some of the ICs he sold would go to the
17   military.    Indeed, in 2016, defendant sold counterfeit ICs to the UCA
18   even though he knew -- because the UCA told him -- that the ICs would
19   be used in the B-1 Bomber aircraft.         Defendant even instructed his

20   supplier to remark the IC with the date code the UCA’s customer

21   needed.    Had the counterfeit ICs been used in the B-1 Bomber, the

22   consequences could have potentially been catastrophic.

23         Of equal concern, in 2016, defendant sold 8,000 counterfeit ICs

24   to Company A, most of which were resold to Company B, in reliance on

25   the sanitized test report that was prepared at defendant’s direction.

26   Company B then installed them into products, many of which were

27   resold to defense contractors for use in military applications.

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1          The Senate Armed Services Committee outlined some of the dangers

2    of counterfeit electronic parts entering the military supply chain:

3          Counterfeit electronic parts pose a significant risk to the
           performance of defense systems. Even if counterfeits made
4          from previously used parts and salvaged from e-waste may
           initially perform, there is no way to predict how well they
5          will perform, how long they will last, and the full impact
           of failure. As Samsung, a major semiconductor
6          manufacturer, put it, “[s]emiconductor components have
           limited useful lives.” [Footnote omitted] Xilinx, another
7          semiconductor manufacturer [and one of defendant’s
           victims], described the risks of using parts salvaged from
8          e-waste:

9               The devices may have been reclaimed and potentially
                exposed to excessive heat in order to dismount them
10              from a circuit board. These cases pose a significant
                reliability risk owing to the potential exposure to
11              excessive heat and electro-static discharge (ESD)
                damage . . . . With respect to ESD, there are many
12              potential damage mechanisms that could have affected
                the devices. Some of these could be catastrophic;
13              others may create a damage mechanism that is latent
                for an undetermined amount of time . . . . Though the
14              devices may initially function, it would be next to
                impossible to predict what amount of life is
15              remaining, or what damage may have been caused to the
                circuitry. [Footnote omitted]
16
           A second danger associated with counterfeit electronic
17         parts has to do with how they are marked. The marking on
           an electronic part includes information that allows a buyer
18         to determine its performance grade. Knowing a part’s
           performance grade is critical as military grade parts, for
19         example, are certified to operate over a broader
           temperature range than industrial or commercial grade
20         parts. As a result, military grade parts may be used when
           a device is expected to be exposed to extreme conditions,
21         such as in defense applications. Counterfeiters, however,
           often remove the original manufacturer’s marking on a part
22         and remark it with an entirely different part number. So,
           while a part may be of commercial grade, it could be
23         remarked as military grade. Such remarked parts may pass
           basic testing but fail in the field when they are exposed
24         to extreme temperatures and other conditions. [Footnote
           omitted.]
25
           The President of the Semiconductor Industry Association
26         likened using counterfeit parts to “playing Russian
           roulette,” explaining, “[w]ith luck, the chip will not
27         function at all and will be discovered in testing. But in
           some cases, the chip may work for awhile, but because of
28         the environmental abuse, it could fail at a critical time –
                                            10
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1          when the product containing the chip is stressed – as in
           combat.” [Footnote omitted.]
2
           Contractors conduct acceptance testing of defense systems
3          where the systems may be subjected to heat, vibration and
           other stresses. However, such testing may not weed out all
4          counterfeit parts. According to General Patrick O’Reilly,
           the Director of the Missile Defense Agency (MDA)
5          [footnote omitted]:

6               A counterfeit part may pass all production testing.
                However, it is possible that the part was damaged
7               during unauthorized processing (e.g. removing the part
                from a previous assembly, or sanding the surface in
8               order to place a new part number) causing the deployed
                system to fail. Similarly, reliability may be
9               affected because a counterfeit part may be near the
                end of its useful life when it is installed. Should
10              any mission critical component fail, that system fails
                and national security is impacted. [Footnote
11              omitted.]
12   S. Rep. No. 112-167, at 7-8 (2012) [emphasis added].
13         Defendant is already receiving a two-level enhancement for
14   selling counterfeit military goods.
15         However, this case involves several aggravating factors.            First,
16   the sheer scope of defendant’s offense is an important factor.             His
17   offense spanned many years and is not a situation in which a
18   defendant had a short-term lapse of judgment.          Indeed, the 1,307
19   counterfeit Xilinx parts seized from defendant’s residence during the

20   search represent a small percentage of the number of suspected

21   counterfeit parts found by agents; based on limited resources, only

22   about 10% of the parts were chosen to be analyzed based on the ones

23   believed to be the most critical and valuable. 7

24
          7 Under the terms of his plea agreement, defendant has agreed to
25
     forfeit all of the suspected/presumed counterfeit integrated circuits
26   seized by the government in connection with this case, totaling
     169,148 ICs (most seized from his residence). See full inventory of
27   ICs listed in the attachments to the Government’s Unopposed
     Application for Entry of Preliminary Order of Forfeiture, filed on
28   April 9, 2019 (Docket No. 30) and the Declaration of Publication,

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1          Second, numerous undercover calls and historical emails showed

2    that defendant went to great lengths to deceive end users so they

3    would not discover that the ICs he sold were blacktopped and

4    remarked.    One egregious example is already cited in the plea

5    agreement and PSR, namely, that defendant instructed a Chinese test

6    lab to create both a complete and sanitized version of a test report

7    and then gave the sanitized version to his customer (Company A) to

8    hide the fact that the Intel ICs had been blacktopped and remarked.

9    The difference between the two reports is striking.           (See Exhibits 1
10   and 2.)   Most disturbing, after reading the complete test report,

11   defendant knew how problematic these ICs were and despite that

12   knowledge, he sold them anyway. 8
13         Finally, the government is extremely concerned about the fact
14   that defendant sold thousands of counterfeit ICs that have ended up
15   in the military supply chain.       The government has issued formal
16   notices to the public warning of the counterfeit ICs that it has
17   identified and it is continuing to assess risks.           Defendant’s sale of
18   8,000 counterfeit Intel parts to Company A has particularly impacted
19

20   filed on May 16, 2019 (Docket 38). To be conservative, in its loss
     calculation the parties have agreed only to include those ICs that
21   were analyzed by the government and thus, the government stands by
     its loss stipulation as set forth in the plea agreement.
22
          8 One of the best examples of defendant’s attitude toward his
23   customers is his 2015 email exchange with a supplier (Grace). The
     exchange reflects that defendant’s customer cancelled an order after
24   discovering the ICs were remarked. Defendant, in turn, sought a
     refund from his supplier, telling her the ink came off too easily,
25   she did a bad job of remarking (he refers to as refurbishing), and
     she needs to remark parts so they pass the acetone test. She
26   explained almost no remarked parts will pass the acetone test, adding
     “You lose the order cause you didn’t quote the truth to your
27   customer.” Defendant replied, “If I tell FUKING CUSTOMER PARTS ARE
     REFURBISH YOU WON’T GET A DAM ORDER FROM ANY CUSTOMER IN USA. WHO IN
28   USA WANTS TO BUY REFURBISH PARTS.” (caps in original) (See Exhibit
     3.)
                                       12
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1    the military.    Since discovering over the last year that many of

2    these counterfeit Intel ICs were in products sold to the U.S. Army,

3    the U.S. Navy and the U.S. Marine Corps for various military

4    applications, the military has been assessing the situation.             Prior

5    to sentencing, the government anticipates receiving a Victim Impact

6    Statement from the U.S. Army describing in more detail the

7    significant impact of defendant’s offenses, and the government will

8    file it as soon as received.

9           B.   History and Characteristics of Defendant
10          Regarding defendant’s history and characteristics, defendant has
11   no prior convictions.      Although defendant cites to a difficult
12   childhood as a result of his parents’ divorce, the Probation Officer
13   notes that he was raised in a loving home with his grandmother. (PSR
14   72.)    While defendant cites to his current family situation, this is,
15   sadly, not unlike what many law-abiding families experience.
16          Defendant has submitted numerous letters from friends and family
17   attesting to his good character, which defendant argues demonstrate
18   his “diligence, sincerity, integrity, honesty and loyalty, and acts
19   as a mentor and guide.” (Supplemental Sentencing Position, p. 3.)

20   While family and friends often wish to write letters to support a

21   defendant, it is very clear from these letters that the writers are

22   completely unaware of defendant’s serious and long-term crime

23   involving fraud and deceit, to which he has pled guilty.

24          The facts of this case speak for themselves.         At most, the

25   letters show that defendant was leading dual lives: portraying

26   himself in his personal life as a devoted family man and caring

27   member of the community, but at the same time, in his business

28

                                            13
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1    dealings, he was callously committing multiple and serious acts of

2    deceit and fraud with potentially dangerous consequences.

3          C.   Need for Just Punishment and Adequate Deterrence
4          Serious offenses deserve serious sentences to account for the

5    sentencing goals of 18 U.S.C. § 3553(a).         As noted above, in creating

6    subsection 2320(a)(3) as part of the National Defense Authorization

7    Act of 2011, Congress was very concerned with the problem of

8    counterfeit electronics entering the military supply chain.             A

9    significant sentence here is especially important to deter other
10   would-be resellers from importing and selling counterfeit circuits
11   that could end up purchased and used by the U.S. military, as
12   defendant did here. 9
13         D.   Need to Avoid Unwarranted Sentencing Disparity
14         A 45-month sentence will not result in unwarranted sentencing

15   disparity.    The recommended sentence actually reflects a one-level

16   downward variance from level 23 to 22 and a sentence in the middle of

17   the resulting guideline range, and carefully balances the significant

18   aggravating circumstances with other factors.
19         In a 2013 counterfeit military goods case, United States v.

20   Peter Picone, Case No. 13-cr-128-AWT, in the District of Connecticut,

21   defendant was sentenced to 37 months imprisonment following his

22   guilty plea to conspiracy to traffic in counterfeit military goods,

23   in violation of 18 U.S.C. 2320(a).        Defendant Picone’s stipulated

24   total offense level was 21, with an advisory guideline range of 37 to

25

26
           9Paragraph 83 of the PSR states that defendant and his brother
27   operate an “aircraft parts sales company” from defendant’s home.
     Although not directly related to deterrence, the government is
28   concerned that despite defendant’s convictions in this case,
     defendant is now selling aircraft parts.
                                       14
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1    46 months.    Defendant should receive a higher sentence than Picone,

2    given defendant’s higher stipulated total offense level, 23, and

3    higher advisory range of 46-57 months.         With a one-level downward

4    variance, defendant’s range is 41-51 months.

5          E.   Restitution
6          The government recommends restitution in the amount of $144,000

7    to Intel Corporation, representing the loss attributable to the

8    completed sale of the 8,000 counterfeit Intel ICs defendant sold to

9    Company A, which resold them to Company B. 10
10   VI.   CONCLUSION
11         For the foregoing reasons, the government respectfully requests
12   that this Court impose the following sentence: (a) 45-months
13   imprisonment; (b) 3 years supervised release; (c) a special
14   assessment of $400; and (d) total restitution in the amount of
15   144,000 and further requests that the preliminary order of forfeiture
16   be incorporated into the judgment.
17    Dated: May 22, 2019                  Respectfully submitted,

18                                         NICOLA T. HANNA
                                           United States Attorney
19
                                           PATRICK R. FITZGERALD
20                                         Assistant United States Attorney
                                           Chief, National Security Division
21

22                                               /s/
                                           LISA E. FELDMAN
23                                         Assistant United States Attorney

24                                         Attorneys for Plaintiff
                                           UNITED STATES OF AMERICA
25

26
           10
            Based on the facts of this particular case, the government is
27   not seeking restitution for the counterfeit ICs sold to the UCA,
     seized during the search warrant or seized by U.S Customs. However,
28   those counterfeit ICs are properly included in the loss calculation
     and in the preliminary order of forfeiture issued in this case.
                                       15
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